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Kelly Stephens OFFICE OF THE CLERK Telephone:
Clerk SUPREME COURT OF KENTUCKY (502) 564-4720
ROOM 209, STATE CAPITOL FAX:
700 CAPITAL AVE. (502) 564-5491

FRANKFORT, KENTUCKY 40601-3488

CERTIFICATION

I, Kelly Stephens, Clerk of the Supreme Court of Kentucky, do hereby certify the records

in this office show that Charity Suzanne Bird having met the necessary

requirements for admission to the Bar, took the oath prescribed by the Constitution of this

Commonwealth on October 31. 2008 , and thereupon was admitted to

practice as an attorney before this and all other courts of the Commonwealth of Kentucky, and

certify that Charity Suzanne Bird is an attorney at law in good standing, as
such, in all the courts of the Commonwealth.

I further certify that the Supreme Court is the Court of highest jurisdiction for the

Commonwealth of Kentucky.
Done at the Capitol at Frankfort, Kentucky this 17% day of July, 2023.
KELLY STEPHENS
CLERK

py: Kose Cobb

Deputy Clerk

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KENTUCKY BAR ASSOCIATION
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FRANKFORT, KENTUCKY 40601-1812
(502) 564-3795
FAX (502) 564-3225
www.kybar.org

THIS IS TO CERTIFY THAT

CHARITY SUZANNE BIRD

Kaplan Johnson Abate ¢» Bird LLP

710 West Main Street, Fourth Floor
Louisville, Kentucky 40202

Membership No. 92622

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is an active member in good standing with the Kentucky Bar Association as required by the
Rules of the Supreme Court of Kentucky, no record of any complaints or charges of any kind
_ having been preferred against her. Dated this 12” day of July, 2023.

JOHN MEYERS

REGISTRAR

By:

— A hhele M. Pogrotsky, fee Reéfstrar

